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                         Exhibit 1
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From:           Gude, Karen
Cc:             CWAwotus
Subject:        EPA, Army Announce Intent to Revise Definition of WOTUS
Date:           Wednesday, June 9, 2021 2:00:56 PM


Dear Tribal Partners,

The U.S. Environmental Protection Agency and Department of the Army (the agencies) intend
to establish a new definition of “waters of the United States” to better protect our nation’s vital
water resources that support public health, environmental protection, agricultural activity, and
economic growth. In addition, U.S. Department of Justice filed a motion requesting remand of
the 2020 Navigable Waters Protection Rule (NWPR) in the District Court of Massachusetts on
June 9, 2021.

Executive Order 13990 on “Protecting Public Health and the Environment and Restoring
Science to Tackle the Climate Crisis” directed EPA and the Army to review and, as
appropriate and consistent with applicable law, take action to revise or replace the NWPR
defining “waters of the United States.” EPA and the Army have completed this review and
determined that they have concerns with the NWPR, including that it is causing significant,
ongoing, and irreversible environmental damage.

The agencies intend to pursue a new rulemaking process to replace the NWPR with a durable
definition of “waters of the United States.” In the interim, the NWPR is still in effect across
the country. Further details of the agencies’ plans, including opportunity for public
participation, will be conveyed in a forthcoming action.

The agencies’ new regulatory effort will be guided by:
      Protecting water resources and our communities consistent with the Clean Water Act.
      Considering the latest science and the effects of climate change on our waters.
      Emphasizing effective implementation.
      Reflecting the experience of landowners, the agricultural community that fuels and
      feeds the world, states, tribes, environmental organizations, and community
      organizations.
The Clean Water Act prohibits the discharge of pollutants from a point source into navigable
waters. Navigable waters are defined in the Act as “the waters of the United States, including
the territorial seas.” Thus, “waters of the United States” is a threshold term establishing the
geographic scope of federal jurisdiction under the Clean Water Act. It is not defined by the
Act but has been defined by EPA and the Army in regulations since the 1970s.

To learn more about the definition of waters of the United States, visit
https://www.epa.gov/wotus.

Please contact CWAwotus@epa.gov with any questions.


Karen Gude
Tribal Program Coordinator
Office of Water
U.S. Environmental Protection Agency
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